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                             UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF TEXAS
                                    AUSTIN DIVISION

UNITED STATES OF AMERICA,                         )
          Plaintiff,                              )
                                                  )       Case No. 1:16-CV-01281
v.                                                )
                                                  )
DOMINIQUE G. COLLIOT,                             )
          Defendant,                              )

                     UNITED STATES’ ADDITIONAL MEMORANDUM

         The United States of America, files this Additional Memorandum pursuant to the Court’s

May 16, 2018 Order (ECF. No. 62) to address why the Court should not dismiss this case with

prejudice based on its ruling.

          I.     Summary of Prior Proceedings

         By way of background, the United States sued Dominique Colliot for a judgment and to

collect 16 different penalties assessed against him for willful failure to file Form TD F 90-22.1 on

various foreign bank accounts (FBAR penalties) in which he had an interest or controlled between

2007 and 2010. On October 26, 2017, the Court entered an Amended Scheduling Order (ECF No.

48) that gave the parties until October 30, 2018, to complete discovery (Id. at 7), and December 4,

2018, to file dispositive motions (Id. at 8.) 1

         Before the completion of discovery, Colliot moved for summary judgment attempting to

have the entire case dismissed with prejudice without providing support to dismiss all of the FBAR



     1
       Fundamental fairness requires that the United States be allowed to conduct discovery and
file its own Motion for Summary Judgment (if it decides to do so) up to the deadlines set by the
Court. The United States will certainly take the deposition of Colliot and perhaps others. The
Court has not made a determination of whether Colliot acted willfully and should not until
discovery is completed.

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penalties. Colliot’s motion addressed only one issue - whether the penalties assessed against him

were in violation of the maximum penalty allowed by Treasury Regulation 31 C.F.R. § 1010.820

(Treas. Reg. § 1010.820) despite Congress having subsequently amended 31 U.S.C. § 5321, the

governing statute, increase the maximum penalties allowed for the periods at issue. Colliot’s

motion only identified one of the 16 penalties alleged in the Complaint that exceeded the maximum

penalty allowed under the regulation. Specifically, the $323,773 FBAR penalty assessment

relating to the UBS SA account for 2007. Colliot did not contend that he lacked an interest in, or

control over, the foreign accounts alleged in the Complaint. Similarly, Colliot’s motion did not

address whether his failure to file the necessary forms was willful, and he did not argue that the

IRS failed to consider the evidence against him when deciding the amounts it assessed.

       The United States responded, arguing that Congress had amended the controlling statute

allowing for larger maximum penalties, and therefore, Treas. Reg. § 1010.820(g)(2) was no longer

the controlling law with respect to the maximum penalties that could be assessed. The United

States also presented significant evidence demonstrating that Colliot had an interest in, or control

over, the foreign bank accounts at issue; and that his failure to file the required forms was willful.

(See ECF No.57, United States’ Response, at pp.13-17). Finally, because judicial review of FBAR

penalties involves two distinct elements, along with two standards of review, 2 the United States




2
  The first element is the existence of a violation, which is reviewable by a court under a de novo
standard. See 5 U.S.C. § 706 (“the reviewing court shall decide all relevant questions of law”);
United States v. Williams, No. 1:09-CV-00437, 2014 WL 3746497 (E.D. Va. June 26, 2014).
The second element is the amount of the penalty, which is left to the discretion of the Secretary,
subject to maximum amounts. The amount of the penalty is reviewable under an abuse of
discretion standard. Moore v. United States, 2015 WL 1510007, at **7 -11 (W.D. Wash. Apr. 1,
2015) (holding that the amount of an FBAR penalty assessment is reviewed for abuse of
discretion); See 5 U.S.C. § 706; See also Ekanem v. Internal Revenue Service, 1998 WL 773614,
at *1 (D. Md. 1998) (an agency’s selection of a penalty is the exercise of a discretionary grant of


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presented evidence demonstrating that to the extent that the abuse of discretion standards for

judicial review under the Administrative Procedures Act (APA)3 apply to the discretionary

amounts of specific penalties assessed against Colliot by the IRS, the IRS had examined the

relevant facts, explained its actions, and there was a rational connection between the facts and the

penalty assessments. (See ECF No.57, United States’ Response, Section B at pp.13-17 and ECF

No. 57-3, SOF.) Colliot failed to object to, or rebut, the majority of material facts established in

the United States’ Response, thereby preventing summary judgment or dismissal of this case on

any of those grounds.4

       On May 16, 2018, the Court entered an Order agreeing with Colliot that the maximum

penalties set forth in Treas. Reg. § 1010.820(g)(2) were not rendered obsolete by the subsequent

amendment to 31 U.S.C. § 5321. Consequently, the Court held that the maximum penalty for

which Colliot could be held liable is capped by the regulation rather than the higher maximum

penalty allowed by the statute,5 and the amount of any penalty exceeding the regulatory limit was

arbitrary and capricious. However, as noted by the Court, Colliot’s request to dismiss this case

with prejudice is “unsupported.” Id. at p. 6. In fact, Colliot never cites any authority supporting



power, and is to be reviewed only for an abuse under an arbitrary and capricious standard of
review).
3
  5 U.S.C. § 551 et seq; 5 U.S.C. §§ 702, 704 and 706.
4
  Although Colliot’s motion is styled as a motion for summary judgment, he requested that the
entire case be dismissed with prejudice. In effect, Colliot filed a motion to dismiss. However,
the United States has submitted sufficient evidence to demonstrate a question of material fact on
these issues, and the standards for dismissal under Rule 12 are even more stringent. When
considering a party’s motion to dismiss, courts must take the allegations of the complaint to be
true. Carney v. Resolution Trust Corp., 19 F.3d 950, 954 (5th Cir.1994). A district court cannot
dismiss the complaint unless it appears beyond doubt that the plaintiff can prove no set of facts
that would entitle it to relief. Id. See also Double D Sporting Service, Inc. v. Supervalu, Inc. 136
F.3d 554, 557 (8th Cir. 1998).
5
  The United States respectfully reserves its right to appeal any of the Court’s rulings, findings or
orders in this case and files this brief under the law as set forth in the Court’s order.

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complete dismissal of any penalty at issue. Accordingly, the Court requested briefing on whether

there are grounds to dismiss the case.

         As explained below, the Court’s May 16, 2018 Order affects only two of the 16 penalties

at issue, and it leaves the other 14 penalties unaffected. Moreover, the Court did not state that the

portion of the penalties falling below the cap in the regulation was arbitrary, capricious or invalid.

Finally, to the extent that the APA applies to the amount of the two remaining penalties chosen by

the IRS, the agency has already exercised its discretion to assess penalties larger than the applicable

cap determined by the Court, and has supplied summary judgment supporting the basis for its

decision. Because the Court can simply limit the amount of these two penalties as a matter of law

in any judgment it may enter, there is no basis or need for remand of those two penalties to the

agency for further decision-making or explanation. In sum, the case should proceed on Colliot’s

liability for all 16 penalties (albeit with two of them being limited in amount by the Court’s Order).

   II.      Fourteen Of Sixteen Penalties Are Within The Limits Set Forth In The
            Regulation, And Remain Unaffected By The Court’s Order

         The Court concluded that “the IRS acted arbitrarily and capriciously when it failed to apply

regulation 31 C.F.R § 1010.820(g)(2) to cap the penalties assessed against Colliot.” (ECF No. 62, p.

5) (emphasis supplied). However, as explained below, 14 of the 16 FBAR penalty assessments

against Colliot are within the maximum limits set forth under Treas. Reg. § 1010.820(g)(2), and

Colliot’s motion provides no basis to dismiss any of these penalties.

         Treas. Reg. § 1010.820(g)(2) states that "[f]or any willful violation committed after

October 26, 1986 . . . the Secretary may assess upon any person, a civil penalty[] ... not to

exceed the greater of the amount (not to exceed $100,000) equal to the balance in the account at

the time of the violation, or $25,000." Thus, under the regulation, the maximum FBAR penalty

that can be assessed per account or per violation is $100,000, or, if the account balance is less than

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$100,000, the IRS may assess an FBAR penalty equal to the amount of the account balance.

Further, a penalty can be assessed in the amount of $25,000 regardless of account balance or

violation, and therefore, any FBAR penalty assessment that is less than or equal to $25,000 cannot

be in violation of the maximum limits set in Treas. Reg. § 1010.820(g)(2).

         During 2007 through 2010, Colliot had a financial interest in, beneficial interest, control

and signatory authority over at least eleven foreign bank accounts, including the seven foreign

accounts which the IRS made FBAR penalty assessments: (1) Barclays in the United Kingdom -

three separate accounts ending 6000 “Barclays 1,” ending 7622 “Barclays 2,” and ending 8820

“Barclays 3”; (2) UBS AG in Switzerland; (3) Societe Generale in France - two separate accounts

ending 0136 “Societe G 1” and ending 2357 “Societe G 2”; and (4) Banque Sarasin & Cie,

“Sarasin,” in Switzerland. United States’ Statement of Material Facts, Dkt. #57-3, (“SOF”) ¶¶ 3,

4, 5 and 12.6 Colliot failed to timely file FBARS for 2007-2010 reporting the Barclays 1, Barclays

2, Barclays 3, UBS, Societe General 1, Societe General 2 and Sarasin accounts despite these

foreign bank accounts each having balances exceeding $10,000. SOF ¶¶ 19, 24-29, 33, 34, 35-

39, 43-46, 49, 53-55 and 57. The failure to report each account is a separate FBAR violation.

Thus, as shown below in Table 1 for 14 of the 16 penalties at issue in this case, the IRS made valid

FBAR penalty assessments for each violation or account that was not timely reported by Colliot

as follows:




   6
       Again, Colliot did not dispute any of these facts in his Motion for Summary Judgment.
                                                  5
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Table 1

    Year   Bank            Maximum       Balance at 6/30     FBAR           Maximum penalty
                           balance       of following year   penalty        allowed under
                           in account    for date of         assessed by    Treas. Reg.
                           during year   violation           IRS            § 1010.820(g)(2)
                                                                            per Court’s Order
    2007   Barclays 1      $389,633      unknown             $100,000       $100,000
    2007   Barclays 2      $318,848      unknown             $100,000       $100,000
    2007   Barclays 3      $ 8,225       unknown             $ 5,000        $25,000
    2007   Yearly Total                                      $205,000       $225,000

    2008   Barclays 2      $540,405      unknown             $ 54,041       $100,000
    2008   Societe G. 1    $278,723      $142,471.93         $ 71,236       $100,000
    2008   Sarasin         $157,937      $18,646             $ 15,794       $25,000
    2008   Yearly Total                                      $141,071       $225,000

    2009   Barclays 2      $232,731      unknown             $ 23,273       $100,000
    2009   Barclays 3      $ 16,020      unknown             $ 1,602        $25,000
    2009   UBS SA          $115,647      0 acct. closed      $ 11,565       $25,000
    2009   Societe G 1     $335,145      unknown             $ 33,515       $100,000
    2009   Societe G 2     $ 67,300      unknown             $ 6,730        $67,300
    2009   Sarasin         $ 52,067      $24,316             $ 12,158       $25,000
    2009   Yearly Total                                      $ 88,843       $342,300

    2010   Societe G 2     $54,000       unknown             $ 5,400        $54,000
    2010   Sarasin         $22,124       unknown             $ 5,000        $25,000
    2010   Yearly Total                                      $ 10,400       $79,000

         Grand Totals                                        $445,314       $871,3007
See SOF ¶¶ 24, 31, 33, 41, 43, 51, 53 and 59.

      Initially, it is important to note that under Treas. Reg. § 1010.820(g)(2), all of the FBAR

penalty assessments in Table 1 under $25,000 are within the limits set forth in the regulation.

Additionally, with respect to the Barclays 2 account for 2007-2009, even though the account

balances on June 30 were unknown, the highest balance in the account during the years at issue

exceeded $100,000, which is the maximum penalty the IRS could have assessed. Because the



7
 The IRS could have assessed a maximum aggregate amount of $871,300 but only assessed
$445,314 for violations as set forth in Table 1.
                                                 6
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amount of the FBAR penalty assessments for the Barclays 2 account in 2007 and 2008 were less

than $100,000, those amounts are also valid and not do not exceed the cap imposed by Treas. Reg.

§ 1010.820.8 Likewise, because the highest balance in the Societe G 1 account during 2009 year

exceeded $100,000, the maximum penalty the IRS could have assessed under the regulation was

$100,000. However, the FBAR penalty assessed for the Societe G 1 account was $33,515 during

2009 and was also within the cap imposed by Treas. Reg. § 1010.820. In sum, the 14 FBAR

penalty assessments listed in Table 1 are within the maximum limits set forth in the regulation,

and remain unaffected by the Court’s Order. Thus, the IRS did not act arbitrarily or capriciously

with respect to these 14 penalties, and there was no violation of the Administrative Procedures Act

regarding the amount of these 14 penalty assessments. At a minimum, these 14 penalty

assessments should not be dismissed, and the case against Colliot for them must proceed.

   III.      Only Two of Sixteen Assessed Penalties Exceeded the Limits in the Regulation

          As explained in Table 2, only 2 of the sixteen penalties at issue in this case exceeded the

maximum cap set forth in Treas. Reg. § 1010.820:

Table 2
 Year        Bank             Maximum      Balance as of 6/30    FBAR           Maximum penalty
                              Balance      of following year     penalty        allowed under
                              in account   for date of the       assessed by    Treas. Reg.
                              during       violation             IRS            § 1010.820 per
                              year                                              Court’s Order
 2007        UBS SA           $523,980     $646,546              $323,773       $100,000
 2008        UBS SA           $757,567     0.009                 $ 55,011       $ 25,000
             Grand Totals                                        $378,784       $125,000

See SOF ¶¶ 24, 31, 33, and 41.

   8
     See Table 1, line entries for Barclays 2 account.
   9
     The UBS Account had a zero balance in the account as of June 30, 2009, because the
account was closed and its funds were transferred to Intersea Assets, Ltd. Gov. Ex. 18 at DOJ
000855.



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        However, only the amounts in excess of the maximums set forth in the regulation were

held to be arbitrary and capricious by the Court.10 Based on the Court’s ruling, only portions of

two FBAR assessments exceeded the maximum amount allowed by law. The remaining portion

of these two penalties were not invalidated by the Court’s Order, and Colliot has offered no

authority or evidence to support invalidating the remaining portion of those two penalties.

Furthermore, to the extent that the IRS’s decision regarding the amount of the penalties is governed

by the APA, there is no basis to remand this case to the agency for further administrative decision-

making or proceedings. Here, the IRS has already fully exercised its discretion to impose larger

penalties and supplied evidence supporting that decision. Specifically, the IRS has already

exercised its discretion and assessed a larger FBAR penalty against Colliot for the UBS account

in the 2007 year according its interpretation of the applicable law. However, the Court has ruled,

that as a matter of law, the maximum amount that can be assessed is capped at $100,000 as set

forth in the regulation. Accordingly, based upon the Court’s ruling, the maximum FBAR penalty

assessment against Colliot for UBS SA account in the 2007 should be limited to the $100,000

maximum amount for purposes of any judgment ultimately entered by this Court rather than

invalidated or remanded. Likewise, the IRS chose to assess a penalty for the UBS SA account in

2008 that exceeded the $25,000 maximum allowed by the regulation, and it should also be limited

to that $25,000 maximum for purposes of any judgment ultimately entered by this Court rather

than invalidated or remanded.




   10
      While the United States does not agree that any assessment was arbitrary or capricious or
greater than the amount allowed by law, it is using this language to comport with the Court’s
Order.

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       While it is common for courts to remand erroneous or insufficient decisions to an agency

under the APA when the statute being interpreted is ambiguous, remand is not required on pure

questions of law for unambiguous statutes where the agency no longer has any discretion to deviate

from the court’s ruling. Citizen Band Potawatomi Indians of Oklahoma v. United States, 391 F.2d

614, 624, (Ct. Cl. 1967), cert. denied, 389 U.S. 1046 (1968) (“In the federal system it has been the

usual rule that, where the reviewing court exposes the legal error in the decision of an

administrative agency, it should not decide for itself those remaining issues within the agency's

special competence, unless there could be only one answer. . .”). See also, Chevron, U.S.A., Inc.

v. Natural Resources Defense Council, Inc. (“If the intent of Congress is clear, that is the end of

the matter; for the court, as well as the agency, must give effect to the unambiguously expressed

intent of Congress.”). Compare Negusie v. Holder, 555 U.S. 511, 523 (2009) (remanding to the

agency question of statutory interpretation where the agency “has not yet exercised its Chevron

discretion to interpret the statute in question”). Here, given that that Court has: (i) ruled on a

question of law; (ii) found no ambiguity or conflict in the controlling statute and regulation; (iii)

found that the regulation constitutes a prior and ongoing exercise of Treasury’s discretion to limit

the maximum amount of penalties despite amendments to statute authorizing larger penalties; and

(iv) given that any future change in the existing regulation by Treasury would fall outside of the

statute of limitations for making FBAR penalty assessments against Colliot, the ordinary remand

rule for agency reconsideration does not apply on the specific facts of this case.

        Only the amounts assessed in excess of the cap amount in regulation Treas. Reg. §

1010.820 are arbitrary and capricious under the Court’s Order and the Court should reduce these

amounts to the cap amounts that are authorized by law. In United States v Bussell, 2015 WL

9957826 (C.D. Ca. December 8, 2015) aff’d. 699 Fed. Appx 695 (9th Cir. 2017), cert denied –


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S.Ct. --, 2018 WL 575038 (April 30, 2018), the IRS assessed a willful FBAR penalty against the

defendant in the amount of $1,221,806. However, the balance in defendant’s foreign account was

$2,241,027, and the court determined that under 31 U.S.C. § 5321(a)(5)(C) (for willful violation)

the IRS could only assess a civil penalty of up to 50% of the balance of the account at issue.

Consequently, the court reduced the amount the defendant’s liability to $1,120,513 in its final

judgment.11 Although Bussell involved a challenge to the amount based upon a violation of the

Eighth Amendment Excessive Fines Clause, the same type of FBAR penalty was at issue, and the

case is an example of another court simply reducing the amount of the penalty chosen by the IRS

that it found to exceed the allowed maximum as a matter of law without invalidating the remaining

penalty assessment and without remanding the case back to the IRS for further administrative

proceedings under the APA.

         Based on the foregoing, the aggregate amount of the 2007-2010 FBAR penalty assessments

against Colliot remaining under the Court’s May 16, 2018 Order is $570,314. ($445,314 from

Table 1 plus $125,000 from Table 2), and the case involving Colliot’s liability for these penalties

should proceed and should not be dismissed.

         WHEREFORE, the United States requests that this Court deny Colliot’s unsupported

request to dismiss the entire action with or without prejudice.




11
     $2,241,027 * 50% =$1,120,513
                                                10
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                                     CERTIFICATE OF SERVICE

       IT IS HEREBY CERTIFIED that service of the foregoing the United States’ Additional

Brief has been made on June 14, 2018, by the court’s electronic filing system to:

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